  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 1 of 24




                                      Michael L. McConnell



March 18, 2019
                                        S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 2 of 24
   Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 3 of 24




                                        Michael L. McConnell



March 18, 2019
                                             S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 4 of 24
  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 5 of 24




                                      Michael L. McConnell


March 18, 2019                              S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 6 of 24
   Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 7 of 24




                                       Michael L. McConnell



March 18, 2019                           S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 8 of 24
   Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 9 of 24




                                       Michael L. McConnell


March 18, 2019                           S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 10 of 24
   Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 11 of 24




                                       Michael L. McConnell



March 18, 2019                          S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 12 of 24
  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 13 of 24




                                       Michael L. McConnell



March 18, 2019                              S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 14 of 24
  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 15 of 24




                                       Michael L. McConnell


March 18, 2019                          S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 16 of 24
   Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 17 of 24




                                        Michael L. McConnell


March 18, 2019                           S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 18 of 24
  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 19 of 24




                                       Michael L. McConnell



March 18, 2019
                                        S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 20 of 24
  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 21 of 24




                                       Michael L. McConnell


March 18, 2019                              S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 22 of 24
  Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 23 of 24




                                      Michael L. McConnell



March 18, 2019                              S
Case 3:19-cv-00114-BAJ-RLB   Document 7   03/18/19 Page 24 of 24
